
Deadeeick, J.,
on the 24th of May, 1873, delivered the opinion of the court.
Application has been made by the defendants for judgment against the surety, Garland, for the debt, as well as for costs, in this case. At a former day of this term, judgment was directed to be entered against Garland for the costs and damages only, upon the ground that the suit was brought upon an open account. As the warrant recites the foundation of the action to be for “debt • due by account under $250,” the opinion was expressed that it was “an action upon an open account,” and that in such case the surety for the appeal was not liable for the debt. It appears that there is no bill of exceptions in the case, showing whether the account sued on was an open account or a liquidated account signed by the party; and as the description in the warrant will equally apply to an open and to a liquidated account, and as we must presume that the judgment and verdict were authorized by the evidence, unless the contrary affirma*41tively appears, tlie judgment will be modified accordingly, and rendered against Garland, as well as Mason, for the amount of the debt, in affirmance of the judgment below, and against them and Burton, the surety of Mason for the appeal to this court, for the costs.
